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 1   THOMAS A. JOHNSON, #119203
     400 Capitol Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Defendant Nadeem Khan
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT

 7                    FOR THE EASTERN DISTRICT OF CALIFORNIA

 8
                                                )   Case No.: 2:12-cr-00185-TLN
 9   UNITED STATES OF AMERICA,                  )
                                                )
10                Plaintiff,                    )   STIPULATION AND ORDER FOR
                                                )   CONTINUANCE OF JUDGMENT AND
11       vs.                                    )   SENTENCING
     NADEEM KHAN,                               )
12                                              )
                  Defendant.                    )
13                                              )
14
15         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the

16   Judgment and Sentencing scheduled for August 27, 2015, at 9:30 a.m. is continued to

17   November 19, 2015, at 9:30 a.m. in the same courtroom. Probation has also been

18   informed of the continuance request. Defendant needs additional time to prepare for

19   sentencing and requested a continuance. Jason Hitt, Assistant United States Attorney,

20   and Thomas A. Johnson, Defendant’s attorney, agree to this continuance.

21
22   IT IS SO STIPULATED.

23
     DATED: August 25, 2015                          By:    /s/ Thomas A. Johnson
24                                                          THOMAS A. JOHNSON
                                                            Attorney for Nadeem Khan
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     DATED: August 25, 2015                         BENJAMIN B. WAGNER
 1                                                  United States Attorney
 2                                            By:    /s/ Thomas A. Johnson for
                                                    JASON HITT
 3                                                  Assistant United States Attorney
 4   IT IS SO ORDERED.
 5   DATED: August 25, 2015
 6
 7
                                                     Troy L. Nunley
 8                                                   United States District Judge
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 1                          IN THE UNITED STATES DISTRICT COURT
 2                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 3
     UNITED STATES OF AMERICA,                      )   Case No. 2:12-cr-00185-TLN
 4                                                  )
                   Plaintiff,                       )
 5                                                  )   MODIFICATION OF SCHEDULE FOR
            vs.                                     )   PRE-SENTENCE REPORT AND FOR
 6                                                  )   FILING OF OBJECTIONS TO THE PRE-
     NADEEM KHAN,                                   )   SENTENCE REPORT
 7
                                                    )
 8                 Defendant                        )
                                                    )
 9
10   Judgment and Sentencing date:                             November 19, 2015
11
     Reply or Statement                                        November 12, 2015
12
     Motion for Correction of the Pre-Sentence
13   Report shall be filed with the court and                  November 5, 2015
14   served on the Probation Officer and opposing
     counsel no later than:
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